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  Deployment Report
  Case: 20-027107
  Mark Richardson and K9 Zino at Patrol, Covington Police Department
  Monday, June 8, 2020 at 2:18 AM



   Overview
    Category: Detection Deployment
    Location: May St
    Address: May St, Covington, KY, United States
    Report Reviewed: No                                            Requesting Agency: Covington Police
    Dog-Assisted Arrests: O                                        Alerts/ Indications: 1
    Search Areas: 1 (Vehicles : 1)
    Alerts Without Items Seized: There is independent information that a target odor is present
    Comments: My team exam ined the ambient air around the suspect vehicle. K-9 Zino gave a positive alert on
    the vehicle. While performing the first detail of the vehicle PSD Zino jumped up at the driver's window and
    then headed towards the rear of the vehicle, he stopped and returned to the rea r seam of the driver side rear
    passenger door seam and his body became rigid w ith his nose on the vehicle . A positive ind ication signifies
    that the Police Service Dog has detected the presence of narcotic odor on or about the vehicle . K-9 Zino and I
    have been working as a patrol and narcotics detection team since March of 2017. My current narcotic
    certification through the North American Pol ice Working Dog Association began September 11, 2019 .

    The driver of the vehicle has a history of narcotic use and while searching the pu rse of the front passenger,
    officers located an unrecoverable amount of Marijuana.


   Indication #1: Vehicle Environment
    Name: Gold Nissan Altama. Type: Passenger car
    Description: Registered in KY, US. License Plate#: ADH-201
    Number of Items Seized: 0




   0      PackTrack report printed by Mark Richardson, Covington Police Department
          Saturday, June 27, 2020 at 7:29 PM
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                                                       EXHIBIT 6                                         CPD001244
